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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   MARC DAYS, CA Bar #184098
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   TERRY LEE SCHNEIDER, II
 7
 8                                 IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 1:10-CR-00361 LJO
                                                     )
12                         Plaintiff,                )   STIPULATION TO CONTINUE STATUS
                                                     )   CONFERENCE HEARING; [PROPOSED] ORDER
13          v.                                       )
                                                     )
14   TERRY LEE SCHNEIDER, II,                        )   Date: February 11, 2011
                                                     )   Time: 8:45 a.m.
15                         Defendant.                )   Judge: Hon. Lawrence J. O’Neill
                                                     )
16                                                   )
17
18          IT IS HEREBY STIPULATED, by and between the parties hereto, and through their
19   respective attorneys of record herein, that the status conference hearing in the above-captioned matter now
20   scheduled for January 7, 2011, may be continued to February 11, 2011 at 8:45 a.m.
21          This continuance is requested by counsel for the defendants, as both defendants need additional
22   time to complete psychiatric evaluations. The requested continuance will conserve time and resources for
23   both counsel and the court.
24   ///
25   ///
26   ///
27   ///
28   ///
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 1            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
 2   justice, including but not limited to, the need for the period of time set forth herein for further defense
 3   preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B).
 4                                                                    BENJAMIN B. WAGNER
                                                                      United States Attorney
 5
 6   DATED: January 3, 2011                                      By   /s/ Brian W. Enos
                                                                      BRIAN W. ENOS
 7                                                                    Assistant United States Attorney
                                                                      Attorney for Plaintiff
 8
 9                                                                    Law Offices of
                                                                      CARL M. FALLER
10
11   DATED: January 3, 2011                                      By /s/ Carl M. Faller
                                                                    CARL M. FALLER
12                                                                  Attorney for Defendant
                                                                    Nicole Jean Schneider
13
14                                                                    DANIEL J. BRODERICK
                                                                      Federal Defender
15
16   DATED: January 3, 2011                                      By /s/ Marc Days
                                                                    MARC DAYS
17                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
18                                                                  Terry Lee Schneider, II
19
20                                                      ORDER
21            Time is hereby excluded pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B). HOWEVER, at the
22   next court hearing, Counsel must be ready either for changes of plea or trial setting. No further
23   continucances.
24
25
26
27   IT IS SO ORDERED.
28   Dated:       January 4, 2011                         /s/ Lawrence J. O'Neill

     Schneider/Stipulation to Continue Status
     Conference Hearing; [Proposed] Order                  -2-
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 1   b9ed48                                     UNITED STATES DISTRICT JUDGE
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     Schneider/Stipulation to Continue Status
     Conference Hearing; [Proposed] Order            -3-
